           Case 5:23-cr-00598-FB                       Document 34        Filed 11/21/23     Page 1 of 3


AO I'A (Rev OWIU   Order Seitn   Condñcns of Rclea,o
                                                                                                     FHCfl   t       ,




                                                                                                       NOV21 2023
                                                UNITED STATES DISTRICT COURT                     CLX, U          ;        ç'(
                                                                                                           d (           r 1..
                                                 WESTERN DISTRICT OF TEXAS
                                                    SAN ANTONIO DIVISION

United States of America                                      §


vs.                                                           §       NO: SA:23-CR-OO5983)-FB
                                                              §
(3) Adrian Luis Fernandez                                     §




                                             ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant's release is subject to these conditions:

(I) The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before
    making any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a
    sentence that the court may impose.

      The defendant must appear at:
                                                                                    J'lace




             on the 2nd Floor of the United States Federal Courthouse, 262 W. Nueva Street, San Antonio, TX
                                                              Place



      on
                                                                  Dale and Time



       If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered. $30,000.00 Unsecured Bond
                             Case 5:23-cr-00598-FB                     Document 34               Filed 11/21/23                 Page 2 of 3
                                                                                                                                               Page   2 of    3    Pages
AO 19913 (Rev. 10/20) Additional Conditions of Release

                                                            ADDITIONAL CONDITIONS OF RJILEASE
                                                                                                         marked below:
         IT IS FURTHER ORDERED that the defendant's release is subject to the conditions

(    )       (6)       The defendant is placed in the custody of:
                       Person or Organization
                                      f
             Address on1y above Is an urgani:al,on)
                                                                                                              Tel. No.
             City and state
                                                                    to          the defendant's appearance at all court proceedings, and (c) notify the court
who agrees to (a) supervise the defendant. (b) use every effort         assure
                                                                              in the custodian's custody.
immediately If the defendant violates a condition of release or is no longer

                                                                                   Signed:
                                                                                                              C'ustodian
                                                                                                                                                             DWe

             (7)       The defendant must:
                                                                                             PRETRIAL SERVICES. AS 1)IREcTED
             X ) (a) submit to supervision by and report for supervision to the
                             telephone number                              , no later than

         ( X ) (b)           continue or actively seek employment.
             ) (e            continue or start an education program.
                     (d)     surrender any passport to:
                   ) (e)     not obtain a passport or other international travel document.
                                                                                                      or travel: Reside at an address approved by Pretrial Services.
         ( X ) (0            abide by the following restrictions on personal association, residence,
                             Travel is restricted to State of Texas.
                                                                                                   may be a victim or witness in the investigation or prosecution.
         ( X ) (g)           avoid alt contact. directly or indirectly, with arty person who is or
                             including:   co-defendants

                                                          treatment as directed by the Pretrial Service Office & pay as directed:
                                                                                                                                                f"p.X               itc.*

             X) (h) get medical or psychiatric
                                                                      at            o'clock alter being released at                  o'clock for empIomcnt. schooling.
                        (i) return to custody each
                             or the following purposes:
                                                                                                                                                                  considers
                                                                                                 center, as the pretrial services office or supervising officer
         (         )    U)   maintain residence at a halfway house or community corrections
                             necessaly.
           X ) (k) not possess a firearm, destructive device, or other weapon.
           X ) (I) not use alcohol ( X ) at all (                ) excessively.
           X )        not use or unlawfully possess a narcotic drug or other controlled
                                                                                                 substances defined in     II  U.S.C. * 802, unless prescribed by a licensed

                (m) medical practitioner.                                                                                                         Testing may be used with
           .X ) (n) submit to testing for a prohibited substance
                                                                          if required by the pretrial services office or supervising officcr.system,     and/or any form of
                      random frequency and may Include urine testing, the wearing
                                                                                                of a sweat patch. a remote alcohol testing
                                                                                                                  attempt   to  obstruct, or tamper with  the efficiency and
                                                                                            must not obstruct,
                      prohibited substance screening or testing. The defendant
                      accuracy of prohibited substance screening or testing.                                                                               services office or
                                                                                             abuse therapy and counseling if directed by the pretrial
         ( X )   (o)  participate in a program of inpatient or outpatient substance
                      supervising officer, as directed.
                                                                                               and comply with its requirements as directed.
                 (p) participate in one of the following location restriction programs                                                                  .or (       ) as
                                                                                                                                       to
                                (i) Curfew. You are restricted to your residence every day (              ) from

                                      directed by the pretrial services office or supervising officer;
                                                                                                         or
                                                                     restricted  to your  residence  at all times except for employment; education; religious services:
                            ) (ii) Home Detention. You           are
                      (                                                                                     visits; court appearances; court-ordered obligations; or other
                                     medical, substance abuse, or mental health treatment; attorney
                                                                                                                         officer; or
                                     activities approved in advance by the pretrial services office or supervising
                                                              You   are restricted  to 24-hour-a-day  lock-down     at your  residence except for medkal necessities and
                            ) (iii) Home Incarceration,                                                       court
                                     court appearances or other activities specifically approved      by the
                                                                                                                           or home incarceration restrictions. Howerver,
                       (    )  (iv)  Stand Alone Monitoring. You have no residential curfew, home detention,
                                                                                                                 by the court,
                                     you must comply with the location or travel restrictions as imposed
                                     Note: Stand Alone Monitoring should be used in conjunction
                                                                                                          with global positioning system (GPS) technology.
                                                                          technology and comply with its requirements as directed:
               ) (q) submit to the following location monitoring                                                officer; or
                                (i) Location monitoring technology as directed by the pretrial services
                               (ii) Voice Recognition;     or
                            ) (iii) Radio Frequency: or
                       (     ) (iv) OPS,                                                                                                                 or supervising
                                                                                       upon your ability to pay as determined by the pretrial services
                  (r) pay all or part of the cost of location monitoring bused
                       officer.
                                                                                                                                                personnel, including arrests
                                as soon as possible, to the pretrial services or
                                                                                    supervising officer, every contact with law enforcement
               X ) (s) report
                              questioning, or traffic stops.                                                                                           services or
                                                                                              upon your ability to pay as determined by the pretrial
              X ) (t) pay all or part of the Cost of substance abuse treatment based
                      supervising officer.
                                                                                   Texas
             (X ) (u) comply with all conditions of probation forl3exar County,
                   Case 5:23-cr-00598-FB               Document 34             Filed 11/21/23               Page 3 of 3
                                                                                                                 Page         3        of     3   Pages
AO 199C (Re. 09/08) Advice of Penalties

                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
                                                                                                                                         will be
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence
consecutive (i.e., in addition to) to any other sentence   you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
                                                                                                                                              or
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation
are significantly more serious if they involve a killing or attempted killing.
       If after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
                                                                                                                          sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be          imposed.   If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a         term of fifteen years or more   you    -
                                                                                                                                will be fined
             not more than $250,000 or imprisoned for not more than tO       years,  or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you will be-         fined not
             more than $250,000 or imprisoned for not more than       five years, or both;
                              -
       (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                                                                                                                                          In
       A term of imprisonment imposed for failure to appear or surrender will be consecutive toany other sentence you receive.
addition a failure to appear or surrender   may  result in the forfeiture of any  bond  posted

                                                 Acknowledgment of the Defendant
                                                                                                                of release.       I promise to obey all
      I acknowledge that I am the defendant in this case and that I am aware of the conditions
                                                                                                                       and sanctions
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties
set forth above.




                                                                                        Defendant s Signature




                                                                                               City and Slate




                                              Directions to the United States Marshal

( X ) The defendant is ORDERED released after processing.
                                                                                    until notified by the clerk or judge that the
(   ) The United States marshal is ORDERED to keep the defendant in custody                                               must be
      defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant
        produced before the appropriate judge at the time and place specified.


Date:    11/21/2023                                                                                S
                                                                                                 Officer s SignalurL



                                                        ELIZAI3EII-I S. ('BETSY") CIESTNEY, UNITED STA1                             S       IAGISTRATE

                                                                                         Printed name and ilik'




                    DISTRIBUTION:     COURT     Dl.E:ENDANT      PRETRIAL SERVICE       U.S.   ArrORNEY           (is. MAR.SJ IA!.
